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IN THE UNITED STATES DISTRICT COURT FOR THE United States Courts
SOUTHERN DISTRICT OF TEXAS Southern District of Texas
HOUSTON
S DIVISION SEP 0 9 2015
UNITED STATES OF AMERICA,
: David J. Bradley, Clerk of Court
Plaintiff, §
V. § Civil Action H-14-27
§
JOHN PARKS TROWBRIDGE, JR., ef al, §
§
Defendants. §

MOTION TO VACATE JUDGMENT AND ORDER

 

2

John Parks Trowbridge, Jr. (“Trowbridge”) hereby appears specially and respectfully
moves the Court to vacate as void the May 23, 2014, Amended Final Judgment (the “Judgment’’)
and Order of Sale and Vacature (the “Order’’) (copy of each attached) in the above-captioned
matter (“Civil Action H-14-27”), for having been entered in a manner inconsistent with due
process of law, as provided in Federal Rules of Civil Procedure 60(b)(4).

Upon Trowbridge’s March 19, 2014, Motion to Dismiss for Lack of Jurisdiction (Dkt.
#18), there being no evidence of Trowbridge’s residence in geographic area in which this Court
of general jurisdiction is authorized by the Constitution to hear and decide cases, the Court
showed partiality toward plaintiff United States (the “Plaintiff’) and bias against Trowbridge by:

1. Commanding sua sponte, both verbally (Dkt. #30, pp. 16-17 of 19) and in writing
(Dkt. #21), in exercise of general jurisdiction, that Plaintiff must promptly enter in evidence one
of Trowbridge’s Form 1040 U.S. Individual Income Tax Returns, which the Court would use sub
silentio as evidence of a purported contractual / quasi-contractual right to hear and decide Civil
Action H-14-27, which purported right the Court would call “jurisdiction,” to justify (a) denying
said motion to dismiss, (b) exercising jurisdiction in geographic area fixed by the Constitution

exclusively for courts of special jurisdiction, and (c) entering the Judgment and Order;
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2. Refusing—by way of denial of Trowbridge ’s express May 8, 2014, Request for an
Explanation of the Reason for the Court’s Denial of Defendant’s March 19, 2014, Motion to
Dismiss (Dkt. #39)—to disclose that the Form 1040 U.S. Individual Income Tax Return that the
Court commanded sua sponte be promptly entered in evidence, was the only evidence the Court
was using, sub silentio, as “proof” that Trowbridge resides in a geographic area in which the
Court is authorized by the Constitution to exercise general jurisdiction;

3. Denigrating Trowbridge and accusing Trowbridge of acting in bad faith (Dkt. #57
p. 3 of 9) for acts amounting to nothing more than exercise of Trowbridge’s legal rights;

4, Entering Judgment (Dkt. #53) sua sponte without regard for Plaintiffs unresolved
April 4, 2014, motion for summary judgment (Dkt. #19); and

5. Rejecting and foreshortening sua sponte by more than 50% the amount of time
Plaintiff stated Plaintiff was prepared to give Trowbridge to gather Trowbridge’s belongings
(Dkt, #57 pp. 3-4 of 9) and vacate Trowbridge’s home in respect of the Order—i.e., from 30 days
to 14 days (Dkt. #54, p. 3 of 4)—an expedited process the omission of which would have worked
no meaningful injury to Plaintiff's interests but which, following the Court’s May 27, 2014,
Order Denying Stay (Dkt. #60) of Trowbridge’s Emergency Motion for Stay of Execution of
Order of Sale and Vacature Pending Exhaustion of Remedy (Dkt. #56), resulted in tremendous
personal and professional hardship on Trowbridge and the six people who work for and depend
on Trowbridge for a paycheck (and the patients who receive medical care from Trowbridge), as
well as loss of a substantial portion of Trowbridge’s personalty and irreplaceable items of
sentimental value accumulated over a lifetime, due to a shortage of time to remove them.

The above-cited acts and omissions reveal that (1) the Court, not Plaintiff, prosecuted

Civil Action H-14-27, (2) the Court committed fraud upon the court, (3) Trowbridge did not

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have a fair proceeding, and (4) the Judgment and Order were entered in a manner inconsistent
with due process of law; to wit:

One of the very objects of law is the impartiality of its judges in fact and
appearance. .. . The relevant consideration under § 455(a) is the appearance of
partiality .. . not where it originated or how it was disclosed. ... Liteky v. United
States, 510 U.S. 540, 558 (1994).

A fair trial in a fair tribunal is a basic requirement of due process. Fairness of
course requires an absence of actual bias in the trial of cases. . . . [T]o perform its
high function in the best way “justice must satisfy the appearance of justice.”
Offutt v. United States, 348 U.S. 11, 14. In re Murchison, 349 U.S. 133, 136
(1955).

Fraud on the court (other than fraud as to jurisdiction) is fraud which is directed to
the judicial machinery itself and is not fraud between the parties or fraudulent
documents, false statements or perjury. . . . It is thus fraud where the court or a
member is corrupted or influenced or influence is attempted or where the judge
has not performed his judicial function--thus where the impartial functions of the
court have been directly corrupted. Bulloch v. United States, 763 F.2d 1115, 1121
(10th Cir., 1985).

The right to a tribunal free from bias or prejudice is based, not on section 144, but
on the Due Process Clause. ... United States v. Sciuto, 521 F.2d 842, 845 (7th
Cir., 1976).

The Court is authorized and required to vacate judgments and orders entered in a manner
inconsistent with due process of law; to wit:

A judgment is void if the court that rendered it . .. acted in a manner inconsistent
with due process. Margoles v. Johns, 660 F.2d 291 (7th Cir. 1981) cert. denied,
455 U.S. 909, 102 S.Ct. 1256, 71 L.Ed.2d 447 (1982); In re Four Seasons
Securities Laws Litigation, 502 F.2d 834 (10th Cir.1974), cert. denied, 419 U.S.
1034, 95 S.Ct. 516, 42 L.Ed.2d 309 (1975). Mere error does not render the
judgment void unless the error is of constitutional dimension. Simer v. Rios, 661
F.2d 655 (7th Cir.1981), cert. denied, sub nom Simer v. United States, 456 U.S.
917, 102 S.Ct. 1773, 72 L.Ed.2d 177 (1982). Klugh v. United States, 620 F.Supp.
892 (1985).

We believe that a judgment, whether in a civil or criminal case, reached without
due process of law is without jurisdiction and void . . . because the United States
is forbidden by the fundamental law to take either life, liberty or property without
due process of law, and its courts are included in this prohibition. ... Bass v.
Hoagland, 172 F.2d 205 (Sth Cir.), cert. denied, 338 U.S. 816, 70 S.Ct. 57, 94
L.Ed. 494 (1949).

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[I]f a “judgment is void, it is a per se abuse of discretion for a district court to
deny a movant’s motion to vacate the judgment.” United States v. Indoor
Cultivation Equip. from High Tech Indoor Garden Supply, 55 F.3d 1311, 1317
(7th Cir.1995). A judgment is void and should be vacated pursuant to Rule
60(b)(4) if “the court that rendered the judgment acted in a manner inconsistent
with due process of law.” Jd. at 1316 (citations omitted)... Price v. Wyeth
Holdings Corp., 505 F.3d 624 (7th Cir., 2007).

“{D]enying a motion to vacate a void judgment is a per se abuse of discretion.” Burrell v.

Henderson, et al, 434 F.3d, 826, 831 (6th Cir., 2006).
BACKGROUND

Civil Action H-14-27 is an alleged Federal debt collection proceeding whose subject
matter is alleged income tax liability, and an action to foreclose on alleged federal tax liens
recorded by claimant United States against real property owned by Trowbridge and arising from
alleged unpaid federal income taxes, penalties, and interest assessed against Trowbridge by the
Internal Revenue Service for tax years 1993-1997 totaling (as of September 1, 2013)
$3,286,335.47 (Dkt. #1, pp. 1-2 of 3).

The record of Civil Action H-14-27 is devoid of competent proof, i.e. material evidence,
that Trowbridge has actual residence in any geographic area in which a court of general
jurisdiction, such as this Court, is authorized by the Constitution to exercise jurisdiction.

The only material fact in the record of this case relevant to the allegation, “Defendant,
John Parks Trowbridge, Jr., resides within the jurisdiction of this Court” (Dkt. #1, p. 1 of 3), is
that Trowbridge resides in Harris County, Texas (Dkt. #19-7, p. 4 of 27; Dkt. #19-8, p. 5 of 28).

The essence of this case is this Court’s (1) dereliction of its duty to know, understand,
and declare the law in respect of the controlling definition and meaning of the term “United
States,” as legislated by Congress in 26 U.S.C. 7701(a)(9) and 28 U.S.C. 3002(15), (2)
denigration of Trowbridge for exclusive reliance on and usage of said controlling definition and
meaning in all of Trowbridge’s filings, and (3) insistence that the Court, a court of general

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jurisdiction, has authority to hear and decide cases in geographic area fixed by the Constitution
exclusively for courts of special jurisdiction; specifically, Harris County, Texas.

The Court states during a hearing on May 21, 2014, “But I conclude as a matter of law
that North [sic'] Harris County [Texas] is part of the United States” (Dkt. #57, p. 3 of 9),
thereby, evidently, inferring that Trowbridge, who resides in north Harris County, Texas, is a
resident of the Title 26 U.S.C. “United States”—effectively the District of Columbia only—and
therefore of the subject, and Trowbridge’s property of the object, of Title 26 U.S.C.

The Court on May 23, 2014, in: (1) the Court’s Judgment” (Dkt. #53) awards to Plaintiff
$3,326,015.01 of Trowbridge’s property, plus statutory additions accruing after April 7, 2014;
authorizes Plaintiff to foreclose the subject liens; and awards to Plaintiff all right, title, and
interest in, and right to possession of, said real property, and (2) the Court’s Order (Dkt. #54),
sets the parameters therefor.

The Court expedites Trowbridge’s eviction sua sponte (Dkt, #57 pp. 3-4 of 9; Dkt. #54, p.
3 of 4) and denies Trowbridge’s motion to stay the Order. (Dkt. #60).

ARGUMENT

A. The Court Denied Trowbridge The Constitutional Right Of Due Process Of Law.

1. The Court denied Trowbridge the constitutional Right to have the instant
controversy heard and decided by a Federal trial court of special jurisdiction.

FEDERAL TRIAL COURTS OF GENERAL JURISDICTION.
Courts that hear both civil and criminal matters are courts of general jurisdiction; to wit:

The United States District Courts are trial courts. Trial courts, as opposed to
appellate courts, are courts that hear both civil and criminal cases through
examination and cross-examination by attorneys. ... The Oxford Companion to
American Law, Kermit L. Hall, editor in chief (Oxford University Press: Oxford,
2002), p. 175 (s.v. “Courts, United States”).

 

" Whereas, there is no person by the name “North Harris County,” “North” appears to be an error on the
part of the Official Court Reporter and should be spelled with a lower-case “n.”
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The United States district courts are the trial courts of the federal court system.
Within limits set by Congress and the Constitution, the district courts have
jurisdiction to hear nearly all categories of federal cases, including both civil and
criminal matters. USCourts.gov, “District Courts,” http://www.uscourts.gov/
FederalCourts/UnderstandingtheF ederalCourts/DistrictCourts.aspx (accessed
March 18, 2015).

§ 3002. Definitions
As used in this chapter:

... (2) “Court” means any court created by the Congress of the United
States, excluding the United States Tax Court.

(3) “Debt” means—

...(B) an amount that is owing to the United States on account of a[n]
assessment, penalty . . . interest, tax .. . recovery of a cost incurred by the
United States, or other source of indebtedness to the United States...

... (8) “Judgment” means a judgment, order, or decree entered in favor of
the United States in a court and arising from a civil or criminal proceeding
regarding a debt. Title 26 U.S.C. Chapter 176 Federal Debt Collection
Procedure

On the federal level, the district courts are courts of general jurisdiction. . . .
West’s Encyclopedia of American Law, Volume 6 (West Group: St. Paul, Minn.,
1998), p. 293.

The best-known courts are courts of GENERAL JURISDICTION, which have
unlimited trial jurisdiction, both civil and criminal, within their jurisdictional area.
At the federal level, these are called DISTRICT COURTS.... Jd. at Volume 9, p. 316.

 

FEDERAL TRIAL COURTS OF SPECIAL JURISDICTION.

 

That certain Constitution ordained, established, and implemented March 4, 1789,
Independence Hall, Philadelphia Pennsylvania (the “Constitution”), creates the federal judicial
power in Article 3 § 1 and defines the maximum extent of that power in Article 3 § 2(1); to wit:

Section. 1.

The judicial Power of the United States shall be vested in one supreme Court, and
in such inferior Courts as the Congress may from time to time ordain and
establish. .. .

Section. 2.

The judicial Power shall extend to all Cases, in Law and Equity, arising under this
Constitution, the Laws of the United States, and Treaties made, or which shall be
made, under their Authority;—to all Cases affecting Ambassadors, other public
Ministers and Consuls;—to all Cases of admiralty and maritime Jurisdiction;—to

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Controversies to which the United States shall be a Party;—to Controversies
between two or more States;—between a State and Citizens of another State,—
between Citizens of different States,—between Citizens of the same State
claiming Lands under Grants of different States, and between a State, or the
Citizens thereof, and foreign States, Citizens or Subjects.

CONSTITUTIONAL AUTHORITY FOR EACH SPECIES OF FEDERAL TRIAL COURT.
Courts ordained and established by Congress under authority of Article II] of the
Constitution are courts of special (or limited) jurisdiction; e.g.:

The character of the controversies over which federal judicial authority may
extend are delineated in Art. III, § 2, cl. 1. ... Jmsurance Corporation of Ireland,
Ltd. v. Compagnie des Bauxites de Guinee, 456 U.S. 694, 701(1982).

The Constitution provides impliedly for Federal trial courts of general jurisdiction at
Article 4 § 3(2); to wit, in pertinent part:
The Congress shall have Power to dispose of and make all needful Rules and
Regulations respecting the Territory or other Property belonging to the United
States; ...
JURISDICTION IS TERRITORIAL.
The geographic area in which a particular court has authority is a defined territory with

fixed boundaries; to wit:

—Territorial jurisdiction. Jurisdiction considered as limited to cases arising or
persons residing within a defined territory, as a county, a judicial district, etc. The
authority of any court is limited by the boundaries thus fixed. ... Henry
Campbell Black, A Law Dictionary, Second Edition (West Publishing Co.: St.

Paul, Minn., 1910) (hereinafter “BLACK’S”), p. 673.
The Constitution authorizes Congress to exercise limited legislative power throughout the
Union and exclusive legislative power in “Territory or other Property belonging to the United

States” (Constitution, Article 4 § 3(2)); to wit:

It is clear that Congress, as a legislative body, exercise two species of legislative
power: the one, limited as to its objects, but extending all over the Union: the
other, an absolute, exclusive legislative power over the District of Columbia. . . .
Cohens v. Virginia, 19 U.S. 264, 434, 6 Wheat. 265, 5 L.Ed. 257 (1821).

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The species jurisdiction that a Federal trial court is authorized to exercise, i.e., either
special or general, is determined by (1) the particular geographic area (judicial district) in which
the court is located, and (2) the species of legislative power the Constitution authorizes Congress
to exercise in that particular area; to wit:

Only the jurisdiction of the Supreme Court is derived directly from the
Constitution. Every other court created by the general government derives its
jurisdiction wholly from the authority of Congress. That body may give, withhold
or restrict such jurisdiction at its discretion, provided it be not extended beyond
the boundaries fixed by the Constitution. Turner v. Bank of North America, 4
Dall. 8, 10; United States v. Hudson & Goodwin, 7 Cranch, 32; Sheldon v. Sill, 8
How. 441, 448; Stevenson v. Fain, 195 U.S. 165.... Kline v. Burke Constr. Co.,
260 U. S. 226, 234 (1922).

Federal trial courts of special jurisdiction are under the exclusive control of the judicial

 

branch of the national government and are limited to controversies of the character delineated in

 

Article 3 § 2(1) arising in geographic area occupied by one of the several commonwealths united
by and under authority of the Constitution and admitted into the Union.

Federal trial courts of general jurisdiction—such as this Court—are under the exclusive

 

control of the legislative branch of the national government (Congress) and have authority “to

 

hear nearly all categories of federal cases, including both civil and criminal matters”
(USCourts.gov, supra, p. 6), arising in “Territory or other Property belonging to the United
States” (Constitution, Article 4 § 3(2), supra, p. 7).
DENIAL OF CONSTITUTIONAL RIGHT TO A FEDERAL TRIAL COURT OF SPECIAL JURISDICTION.
Whereas: \t is indisputable that this Court is a Federal trial court of general jurisdiction;
and
Whereas: It is indisputable that Trowbridge is a resident of the geographic area occupied
by that certain commonwealth united by and under authority of the Constitution and admitted
into the Union December 29, 1845, i.e., Texas; and

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Whereas: It is indisputable that Trowbridge has no physical or economic presence or
residence in fact in “Territory or other Property belonging to the United States” (id.); and

Whereas: \t is indisputable that Trowbridge, a resident of Texas, has the constitutional
Right to have a controversy between Trowbridge and the United States heard and decided in a
Federal trial court of special jurisdiction,

Wherefore: It is indisputable that Trowbridge has been denied the Right to a Federal trial
court of special jurisdiction, an aspect of denial of due process of law of constitutional
dimension.

2. The Court heard and decided Civil Action H-14-27 without constitutional
authority.

PLAIN STATEMENT OF FACTS.

 

When Plaintiff fails for 19 days to enter in evidence proof of jurisdiction following filing
of Trowbridge’s March 19, 2014, Motion to Dismiss for Lack of Jurisdiction (Dkt. #18): At a
hearing held on April 7, 2014, for no apparent reason and without prompt from Plaintiff or
Trowbridge regarding any of Trowbridge’s tax returns, the Court asks Plaintiff, “Do you have a
copy of one of these objectionable tax returns?” (Dkt. #30, p. 15 of 19).

The transcript of said hearing also attributes the following statements to the Court: “Well,
I would like just to see an exemplar” (id.); “And just the 1040, the first couple of pages of it, plus
whatever attachment would affect liability” (id. at 16-17 of 19); “I want you just to file it...”
(id. at 17 of 19); “Just file one as - -” “- - the attachment the Court ordered” (id.); and “I just
want to see what one looks like” (id).

When Plaintiff comments to the Court, “We didn’t include those [Trowbridge’s tax
returns] just because we didn’t feel we needed to, but I can get a copy” (id. at 16 of 19), the
Court replies, “Well, just one” (id).

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Following the Court’s instructions to Plaintiff at the aforesaid April 7, 2014, hearing, the
Court, in exercise of general jurisdiction, commands Plaintiff by Management Order (Dkt. #21):
“The United States must promptly give the court one of the objectionable tax returns.”

Plaintiff, on April 14, 2014, files in the record “United States’ Court Ordered
Supplement” (Dkt. #24) and attaches thereto a copy of Trowbridge’s Form 1040 U.S. Individual
Income Tax Return for 1997 (Dkt.#24-1) (the “1997 Form 1040”).

The Court never reveals why the filing of one of Trowbridge’s tax returns was so urgent /
important. Following filing of the 1997 Form 1040, the Court never raises the subject again.

After six weeks with no ruling on the motion to dismiss, Trowbridge files on May 1, 2014,
Trowbridge’s Request for Ruling on Defendant’s March 19, 2014, Motion to Dismiss (Dkt. #33).

The next day, May 2, 2014, 44 days after the filing of the March 19, 2014, motion to
dismiss, the Court issues an order (Dkt. #34) denying said motion.

FRAUD UPON THE COURT.

Whereas: Based on the foregoing, it is reasonable to conclude that that as of April 7,
2014, time is of the essence re the Court’s verbal and written order commanding that Plaintiff
must promptly file in the record one of Trowbridge’s tax returns; and

Whereas: “Non refert quid notum sit judici, si notum non sit in forma judici. \t matters
not what is known to the judge, if it is not known to him judicially”’—and, there being no
evidence that Trowbridge resides in a geographic area in which a court of general jurisdiction,
e.g., the Court, has authority: To be justified in denying Trowbridge’s March 19, 2014, motion to
dismiss, the Court needed something that would allow the Court to treat Trowbridge as a resident

of geographic area in which the Constitution authorizes the Court to hear and decide cases; and

 

* John Bouvier, Bouvier’s Law Dictionary, Third Revision (Being the Eighth Edition), revised by Francis
Rawle (West Publishing Co.: St. Paul, Minn.: 1914), p. 2150.
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Whereas: On April 7, 2014, the record of Civil Action H-14-27 is devoid of evidence that
Trowbridge has residence in fact in “Territory or other Property belonging to the United States”
(Constitution, Article 4 § 3(2)), only geographic area in which a Federal trial court of general
jurisdiction, such as the Court, has authority to hear and decide cases; and

Whereas: As of April 7, 2014, Plaintiff has failed for 19 days since the filing of
Trowbridge’s March 19, 2014, Motion to Dismiss for Lack of Jurisdiction, to enter in evidence
anything that would suggest or allow the Court to presume that Trowbridge is a resident of
“Territory or other Property belonging to the United States” (id.), and is unaware (Dkt. #30, p. 16
of 19) of the Court’s need for such evidence in order to be able to justify denying Trowbridge’s
March 19, 2014, Motion to Dismiss for Lack of Jurisdiction; and

Whereas: Standard application of the basic rules of statutory construction to the
controlling 26 U.S.C. 7701(a)(9) definition of the term “United States” reveals that Congress
define said term in a geographical sense to mean the District of Columbia, the Commonwealth of
Puerto Rico, the Virgin Islands, Guam, American Samoa, and the Commonwealth of the
Northern Mariana Islands and no other thing—the statutory States’ of the Title 26 U.S.C.
geographical United States (Dkt. #28, pp. 34-35 of 42); and

Whereas: Residents of the aforesaid insular Title 26 U.S.C. States of the Title 26 U.S.C.

geographical United States are not liable to tax under Title 26 U.S.C. (dd. at 35 of 42); and

 

3 In the colloquial expression “50 States,” the meaning of the Title 26 U.S.C. term “State” is the District of
Columbia—the only 26 U.S.C. 7701(a)(10) State whose residents are liable to tax under 26 U.S.C.; to wit: “[Tlaxing
statutes are subject to strict construction . . .” (A Dictionary of Law, Seventh Edition, Jonathan Law and Elizabeth
Martin, editors (Oxford University Press: Oxford, 2009), p. 295)—and the 50 States are the purported 50 bodies
politic (political subdivisions) of the District of Columbia residing without the exterior limits of the District of
Columbia in geographic area occupied by one of the 50 respective commonwealths united by and under the
authority of the Constitution and admitted into the Union, such as Texas, each of whose “members” at some point
performed some act or made some statement—such as the signing and making of a Form 1040 U-S. Individual
Income Tax Return—which actors in government regarded, sub silentio and unilaterally, as an “alien [nonresident
of any of the Title 26 U.S.C. States of the Title 26 U.S.C. geographical United States] showing a definite intention to
acquire residence in the [Title 26 U.S.C. geographical] U.S. [i.e., for purposes of tax under Title 26 U.S.C., the
District of Columbia only].” 26 C.F.R. 1.871-4(c)(2)(iii).

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Whereas: The only 26 U.S.C. 7701(a)(10) State of the Title 26 U.S.C. 7701(a)(9)
geographical United States whose residents are liable to tax under Title 26 U.S.C. is the District
of Columbia; and

Whereas: General legislation at 26 U.S.C. 7701(b)(1)(B) Nonresident alien provides, in
pertinent part, that “An individual is a nonresident alien if such individual is neither a citizen of
the [Title 26 U.S.C. geographical] United States nor a resident of the [Title 26 U.S.C.

geographical] United States. ..”; and
Whereas: Trowbridge is a 26 U.S.C. 7701(b)(1)(B) nonresident alien; and

 

Whereas: General legislation at 26 U.S.C. 6013 provides, in pertinent part:

(g) Election to treat nonresident alien [Trowbridge] individual as resident of the
[Title 26 U.S.C. geographical] United States [i.e., for purposes of tax under Title
26 U.S.C., the District of Columbia only]
(1) In general
A nonresident alien [Trowbridge] individual with respect to whom this
subsection is in effect for the taxable year shall be treated as a resident of the
[Title 26 U.S.C. geographical] United States [i.e., for purposes of tax under
Title 26 U.S.C., the District of Columbia only ]—
(A) for purposes of chapter 1 for all of such taxable year, and
(B) for purposes of chapter 24 (relating to wage withholding) for payments
of wages made during such taxable year.
...(h)... year in which nonresident alien [Trowbridge] becomes resident of
[Title 26 U.S.C. geographical] United States [i.e., for purposes of tax under Title
26 U.S.C., the District of Columbia only]
(1) In general .
If—
(A) any individual is a nonresident alien individual at the beginning of any
taxable year but is a resident of the [Title 26 U.S.C. geographical] United
States [i.e., for purposes of tax under Title 26 U.S.C., the District of
Columbia only] at the close of such taxable year,
... then the individual referred to in subparagraph (A) shall be treated as a
resident of the [Title 26 U.S.C. geographical] United States [i.e., for purposes
of tax under Title 26 U.S.C., the District of Columbia only] for purposes of
chapter 1 for all of such taxable year, and for purposes of chapter 24 (relating
to wage withholding) for payments of wages made during such taxable year.
[and]

 

 

 

 

 

 

 

 

 

 

 

 

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Whereas: General legislation at 26 C.F.R. 1.871-4(c)(2)(iii) provides, in pertinent part:

§ 1.871-4 - Proof of residence of aliens.
(a) Rules of evidence. The following rules of evidence shall govern in
determining whether or not an alien within the [Title 26 U.S.C. geographical]
USS. [ie., for purposes of tax under Title 26 U.S.C., the District of Columbia
only] has acquired residence therein for purposes of the income tax.
(b) Nonresidence presumed. An alien [Trowbridge] by reason of his alienage,
is presumed to be a nonresident alien.
(c) Presumption rebutted—{1) Departing alien... .
(2) Other aliens. In the case of other aliens, the presumption as to the alien's
nonresidence may be overcome by proof—
... (iii) Of acts and statements [e.g., a Form 1040 tax return] of the alien
[Trowbridge] showing a definite intention to acquire residence in the [Title
26 U.S.C. geographical] U.S. [i.e., for purposes of tax under Title 26 U.S.C.,
the District of Columbia only]...

 

 

 

 

Wherefore: In its exercise of general jurisdiction, the Court on April 7, 2014, substantially
assumes responsibility for prosecution of Civil Action H-14-27 by commanding sua sponte both
verbally and in writing that Plaintiff must promptly enter in the record what the Court needs and
will use against Trowbridge unilaterally and sub silentio as prima facie evidence of an act or
statement purportedly showing a “definite intention to acquire residence” (26 C.F.R. 1.871-
4(c)(2)(iii), supra) in the District of Columbia—1.e., “Territory or other Property belonging to
the United States” (Constitution, Article 4 § 3(2)) and geographic area in which a court of
general jurisdiction, such as the Court, is authorized by the Constitution to hear and decide
cases—a fraud upon the court evincing that it was impossible for Trowbridge to have a fair
proceeding, an aspect of denial of due process of law of constitutional dimension.

THE 1997 FORM 1040 DOES NOT CONSTITUTE EVIDENCE OF “A DEFINITE INTENTION TO ACQUIRE
RESIDENCE IN THE [TITLE 26 U.S.C. GEOGRAPHICAL] U.S.”.

 

 

Whereas: Evidence attached to and part of the 1997 Form 1040 in the form of
Trowbridge’s October 15, 1998-notarized “DISCLAIMER STATEMENT DENYING ANY
TAX LIABILITY” (Dkt. #24-1, pp. 13-15 of 16) documents that Petitioner’s apparent alleged
general election to be treated as a resident of the Title 26 U.S.C. geographical United States by

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way of the 1997 Form 1040 was made unwittingly by mistake (id.), obtained by the Internal
Revenue Service through fraud on the part of Internal Revenue Agent Roy Fite (id.), and that
Trowbridge never had any such intention (id.); and

Whereas: The aforesaid DISCLAIMER STATEMENT DENYING ANY TAX
LIABILITY contradicts, overcomes, and renders immaterial the 1997 Form 1040 as evidence of

any “intention to acquire residence in the [Title 26 U.S.C. geographical] U.S.” (26 C.F.R. 1.871-

 

4(c)(2)(iti)) on the part of Trowbridge,

Wherefore: The Court’s use of the 1997 Form 1040 as “evidence” of Trowbridge’s
alleged 26 U.S.C. 6013 general election to be treated as a resident of the Title 26 U.S.C.
geographical United States is without merit and a fraud upon the court.

WHY THE PURPORTED 26 U.S.C. 6013 ELECTION FACILITY IS A HOAX AND A NULLITY.

No one has the right to elect (choose) to be treated as a resident of a geographic area in
which he has no residence in fact for the purpose of taxation; to wit:

12. While one's statements may supply evidence of the intention requisite to
establish domicile at a given place of residence, they can not supply the fact of
residence there; and they are of slight weight when they conflict with the fact.
This is the more so where, as here, the statements are shown to have been inspired
by the desire to establish a nominal residence for tax purposes, different from the
residence in fact. P. 425. In such circumstances, the actual fact of the place of
residence and the person's real attitude and intention with respect to it as *400
disclosed by his course of conduct are the controlling factors in ascertaining his
domicile. When one intends the facts to which the law attaches consequences, he
must abide the consequences whether intended or not. 13. One can not elect to
make his home in one place in point of interest and attachment and for the general
purposes of life, and in another, where he in fact has no residence, for the purpose
of taxation. P. 426.... Texas v. Florida, 306 U.S. 398 (1939).

Whereas: Trowbridge has never had the right to elect to be treated as a resident of the
Title 26 U.S.C. geographical United States for the purpose of taxation; and

Whereas: No actor in government has ever had the right to treat Trowbridge as a resident
of the Title 26 U.S.C. geographical United States for the purpose of taxation; and

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Whereas: Jurisdiction is “limited to cases arising or persons residing within a defined
territory, as a county, a judicial district, etc.” (BLACK’S, supra, p. 7) and “The authority of any
court is limited by the boundaries thus fixed” (id.); and

Whereas: The alleged 26 U.S.C. 6013 election facility is discretionary / optional and
therefore an alleged contractual / quasi-contractual—i.e., not jurisdictional—matter; and

Whereas: The Court, in the Court’s May 13, 2014, Second Order Denying Dismissal
(Dkt. #42) declares, among other things, “This court has jurisdiction” and cites by footnote not
the actual fact of the place of Trowbridge’s residence or the geographic area in which the Court
is authorized by the Constitution to hear and decide cases as the reason therefor, but rather a
statute (28 U.S.C. 1340 (2012)), evincing that the Court (1) knows that Trowbridge resides not
within the jurisdiction of the Court as alleged by Plaintiff (Dkt. #1, p. 1 of 3), and (2) asserts
“jurisdiction” but rather is using—sub silentio and fraudulently—an alleged contractual / quasi-
contractual right as the basis of the Court’s authority to hear and decide Civil Action H-14-27,
the 1997 Form 1040 being “proof” (immaterial prima facie evidence) thereof,

Wherefore: The Court’s assertion “This court has jurisdiction,” despite no actual
evidence of jurisdiction is willful and perjurious and a fraud upon the court under color of law, a
denial of due process of law of constitutional dimension.

B. Civil Action H-14-27 Was Not A Fair Proceeding.

The transcript of the May 21, 2014, hearing (Dkt. #57, pp. 3-4 of 9) (the “Transcript’’)
provides the following exchange between the Court and counsel for the United States:

THE COURT. ... The United States is free to go by slang nicknames if it
chooses. Whether it goes by the United States of America or the United States or

USA or what as we say in Texas, “Murica,” that that's fine. The rules allow
pleading in common names or official names.

The confusion -- and [ actually don't think Trowbridge has a clue what all
this means. Frankly, you can't. But he got it from somebody. As I mentioned last

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time, he lives up there around Dr. Jaikaran. And there are two approaches. He's

using it even though he probably knows it's meaningless because he has no other

way he thinks of avoiding it, so - - or he's delusional and believes it. But by

spending your time being rational with an irrational purpose would be irrational.
So when do you want him evicted?

MR. SMELTZER: I was prepared to give Mr. Trowbridge 30 days if he
needed it to gather his belongings. I don't know if he - - sometimes people are less
than willing to leave and we are required to use the Marshal Service but - -

THE COURT. Well - -
MR. SMELTZER: - - | thought that 30 days was reasonable.

THE COURT: - - the problem is the adverse decision by the Board of Tax
Appeals, which just pretends to be a court, was June 4th, 2003. So he's had 11
years.

MR. SMELTZER: That's true.

THE COURT: So you add up 30 days, plus 11 years that he has known of the
problem, has, as near as I know, done nothing constructive by way of negotiation
or payment or anything else.

MR. SMELTZER: No, he has not.

THE COURT. And he has been obstreperous. Because I don't like calling
people insane, I'll assume he's being dishonest, I think that's a step up, in using all
of this stuff.

Today is the 21st of May. I believe he needs to be out by noon May 30th.
MR. SMELTZER: That is fine by me, Your Honor.

THE COURT: There is simply no sense in our allowing him further to do it,
that is, to occupy.

1. The Court denigrated Trowbridge for taking responsibility for knowing and
understanding the law and exercising Trowbridge’s legal rights.

When Congress omit to provide a definition for a particular word or legal term in a
particular statute, great care must be taken to ensure proper interpretation thereof; to wit:

Although the District of Columbia Income Tax Act made “domicile” the fulcrum
of the income tax, the first ever imposed in the District, it set forth no definition of
that word. To ascertain its meaning we therefore consider the Congressional
history of the Act, the situation with reference to which it was enacted, and the
existing judicial precedents, with which Congress may be taken to have been

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familiar in at least a general way. United States v. Dickerson, 310 U.S. 554, 562.
District of Columbia v. Murphy, 314 US 441, 449 (1941)

“Ignorantia excusator, non juris sed facti. Ignorance of fact may excuse, but not
ignorance of law” (BOUVIER’S (see fn. 2, p. 10, supra), p. 2136), and “Jgnorance of law consists
of the want of knowledge of those laws which it is our duty to understand, and which every man
is presumed to know” (id. at 1488).

When Congress do provide a specific definition for a certain term in a particular body of
statutory law, everyone has a duty to understand and know the meaning thereof, legal
professionals doubly so, and no one has any discretion to take said term in any other way than
that provided by Congress; to wit:

The words of a statute are to be taken in their ordinary and popular meaning,
unless they are technical terms or words of art, in which case they are to be
understood in their technical sense. ... [Underline emphasis added.] Henry

Campbell Black, Handbook on the Construction and Interpretation of the Laws
(West Publishing Co.: St. Paul, Minn., 1896), Sec. 57, p. 128.

 

 

 

Linguistic inference canons provide guidelines about what the legislature likely
meant, given its choice of some words and not others. The linguistic inference
canons include classic logical canons such as expressio unius, noscitur a sociis,
and ejusdem generis. Other inferential rules encourage interpreters to follow the
ordinary usage of text unless the legislature has itself defined the word or the
phrase has acquired a technical meaning. . . . [Footnotes omitted; underline
emphasis added.] Jacob Scott, “Codified Canons and the Common Law of
Interpretation,” The Georgetown Law Journal, Vol. 98, Issue 2, January 2010, pp.
352-353.

Table 1. Linguistic Inference Canons...

... Ordinary usage: Follow ordinary usage of terms, unless the legislature gives
them a specified or technical meaning. ...

Dictionary definition: Follow dictionary definitions of terms, unless the
legislature has provided a specific definition. [Underline emphasis added.] Jd.
at 357.

 

“Qui jure suo utitur, nemini facit injuriam. He who uses his legal rights harms no one”

(BOUVIER’S, p. 2157)—but the Transcript reveals that the Court condemns Trowbridge for

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exercising Trowbridge’s legal rights and relying on and referring to the statutes of Congress for

the meaning of the definition of the Title 26 and 28 U.S.C. term “United States”; to wit:

[ actually don't think Trowbridge has a clue what all this [United States, United
States of America, USA] means. .. . And there are two approaches. He's using it
[controlling definition of “United States” in Titles 26 and 28 U.S.C.] even though
he probably knows it's meaningless [insinuation that “United States” has no
special meaning in Title 26 or 28 U.S.C. and Trowbridge is acting in bad faith]
because he has no other way he thinks of avoiding it [inference that Trowbridge is
acting in bad faith or for purposes of delay or both: tacit denigration of
Trowbridge for exercising Trowbridge’s legal rights], so - - or he's delusional and
believes it [inference that Trowbridge is delusional for maintaining fidelity to the
controlling definition of “United States” provided by Congress in Titles 26 and 28
U.S.C. and exercising Trowbridge’s legal rights]. But by spending your time
being rational with an irrational purpose would be irrational [inference that
Trowbridge is irrational for adhering to the controlling definition of “United
States” in Titles 26 and 28 U.S.C.; inference that Trowbridge’s exercise of
Trowbridge’s legal rights is irrational].

 

 

 

2. The Court prosecuted sua sponte and in exercise of general jurisdiction, Civil
Action H-14-27 with bias against Trowbridge, using pejorative epithets to
characterize Trowbridge for observing controlling law in Titles 26 and 28 U.S.C.
and exercising Trowbridge’s legal rights, citing the amount of time expended
doing so as the reason Trowbridge’s eviction should be expedited.

Plaintiff states “I was prepared to give Mr. Trowbridge 30 days if he needed it to gather
his belongings” and “I thought that 30 days was reasonable,” to which the Court replies:

“(T]he problem [an alleged debt] is the adverse decision by the Board of Tax
Appeals [United States Tax Court], which just pretends to be a court, was June 4th,
2003. So he's had 11 years [false inference that Trowbridge has neglected a legal
duty for 11 years]... . So you add up 30 days, plus 11 years that he has known of
the problem [an alleged debt], has, as near as I know, done nothing constructive
by way of negotiation or payment or anything else [i.e., has not volunteered to
negotiate or pay the alleged debt}... . And he has been obstreperous [no evidence
of obstreperousness per se; the Court equates Trowbridge’s choice to litigate
(rather than negotiate and pay) an alleged debt with obstreperousness|. Because I
don't like calling people insane [denigration of Trowbridge for observing the Title
26 and 28 U.S.C. definition and meaning of “United States” and insinuation that
Trowbridge is insane for doing so], I'll assume he's being dishonest [denigration
of Trowbridge for insisting on the law], I think that's a step up, in using all of this
stuff [controlling definition of “United States” in Titles 26 and 28 U.S.C.]. Today
is the 21st of May. I believe [evidence that the Court, not Plaintiff, is prosecuting
Civil Action H-14-27] he needs to be out by noon May 30th [nine days later]... .
There is simply no sense in our allowing him further to do it, that is, to occupy.

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3. The Court entered the Judgment and Order without regard for Plaintiff's
unresolved April 4, 2014, motion for summary judgment, further evincing that
the Court prosecuted this case sua sponte, in exercise of general jurisdiction.

Whereas, the record of Civil Action H-14-27 reflects entry of Amended Final Judgment

May 23, 2014 (Dkt. #53), said record is devoid of resolution of Plaintiff's April 4, 2014, United
States’ Motion for Summary Judgment and Memorandum in Support (Dkt. #19), signifying that
said motion was extraneous to final disposition of this case and that the Court prosecuted Civil
Action H-14-27 sua sponte, in exercise of general jurisdiction—against a resident of geographic
area fixed by the Constitution exclusively for courts of special jurisdiction, who has no residence
in fact in any geographic area in which any courts of general jurisdiction is authorized by the
Constitution to hear and decide cases—justified by sub silentio use of immaterial prima facie
evidence (the 1997 Form 1040) as “proof” of Plaintiff's allegation that “Defendant, John Parks
Trowbridge, Jr., resides within the jurisdiction of this Court” (Dkt. #1, p. 1 of 5).
CONCLUSION
Courts, in our system, elaborate principles of law in the course of resolving
disputes. The power and the prerogative of a court to perform this function rest, in
the end, upon the respect accorded to its judgments. The citizen's respect for
judgments depends in turn upon the issuing court's absolute probity. Judicial
integrity is, in consequence, a state interest of the highest order. Republican Party
of Minnesota v. White, 536 U.S. 765 (2002).
In light of the hereinabove-cited evidence and defects in Civil Action H-14-27,

Trowbridge hereby moves the Court to vacate the Court’s May 23, 2014, Judgment and Order

and afford Trowbridge such other relief as the Court deems proper.

DATE: September 9, 2015 Respectfully s Whe Ny c
John} Parks Trowbridge, Jr.
9816 Memorial Boulevard #205
Humble, Texas

(281) 540-2329

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CERTIFICATE OF SERVICE

I certify that on September 9, 2015, two copies of the attached MOTION TO VACATE
JUDGMENT AND ORDER, together with (two) attachments, was delivered by hand to the
Clerk of the United States District Court in Houston, Texas, for filing and one copy was served
via United States Mail, first class postage pre-paid, to counsel as follows:

Joshua Smeltzer
Department of Justice, Tax Division

717 N. Harwood, Suite 400
Dallas, Texas 75201 Wf ¢
John Parks Trowbridge, Jr.

 
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UNITED STATES DISTRICT COURT SOUTHERN DISTRICT OF TEXAS

 

United States of America, §
Plaintiff, ;
versus ; Civil Action H-14-27
John P. Trowbridge, Jr, et al, ;
Defendants, ;
Amended Final Judgment

I. The United States of America:
A. — Takes $3,326,015.01, plus statutory additions accruing after April 7, 2014,
from John P. Trowbridge including his assumed name Freedom Ventures, UBO.
B. Has tax liens on Trowbridge’s property, including 25117 Ramrock Drive,
Porter, Texas 77365.

C. May foreclose its liens against 25117 Ramrock Drive.
D. _— Hasallright, title, and interest in the property including the right to possession.
2. The clerk will leave the case open for the court to supervise Trowbridge’s eviction.

Signed on May 23, 2014, at Houston, Texas.

Lynn N. Hughes
United States District Judge

 

“-nE COPY I CERTIFY
EST:
-~YTD J. BRADLEY, Clerk of Court
‘yy Forse DILLY

-# “Beputy Clerk

 

 

 
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UNITED STATES DISTRICT COURT SOUTHERN DISTRICT OF TEXAS

 

United States of America,

§
§
Plaintiff, §
§
versus § Civil Action H-14-27
§
John P. Trowbridge, Jr., et al., §
§
Defendants. §
Order of Sale and Vacature
I. The United States of America, having attached its liens, may foreclose 25117 Ramrock

Drive, Porter, Texas 77365, also known as:

Lot x6, block 1, of Bentwood, section r, a subdivision of 156.8 acres, out of the
William Massey Survey, A-391, and the Mary Owens survey, A-405, in
Montgomery County, Texas, as imposed by the map and dedication records in
cabinet G, sheets 138A — 141A.

2. The Internal Revenue Service is directed under 28 U.S.C. §§ 2007, 2002, and 2004, to

offer the property at a commercially reasonable and public sale.

3. ‘The Service may access the property to preserve it, including retaining someone to
change or install locks or other security on the property until the deed is delivered to

a buyer.
4. The terms and conditions of the sale are:

A. The sale will be free and clear of all liens or other claims inferior to the Service’s
lien.
reese, COPY I CERTIFY
:{2PaST:

AVIS BRADLEY, Clerk of Cow
° ean |

7 ““Sopuay Clerk

 

 
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B. The sale is subject to building lines, laws, ordinances, and governmental

regulations affecting the property and easements and restrictions of record.

C. - The sale of the property by public auction must be held on the front steps of
the Montgomery County Courthouse.

D. The date and time for the sale is to be announced by the Service.

E. After the Service has determined the date and time for the sale, it must include
it in the notice of sale and mail the notice, by regular and certified mail, return
receipt requested, to:

Joshua D. Smeltzer
Trial Attorney, Tax Division
United States Department of Justice
717 North Harwood, Suite 400
Dallas, Texas 75201

John P. Trowbridge, Jr.
9816 Memorial Boulevard, Suite 205
Humble, Texas 77338

F. The date and time of the auction must be announced by the Service by
advertising the sale once each week for four consecutive weeks in at least one
generally circulated newspaper in Montgomery County, Texas, through the
Houston Association of Realtors, and otherwise at the discretion of the Service.
The notice of sale'will describe the property and the terms of the sale in this

order in brief, direct, and plain English.

G. The minimum bid will be determined by the Service and must be in the notice
of sale. If the minimum bid is not met, the Service may hold a new sale with a
reduced minimum bid.

H. Each successful bidder must deposit at the time of the sale atleastr0% of the bid
by a certified or cashier's check payable to the United States District Court.
Before being allowed to bid, bidders must have shown that they can comply.

1. The buyer must pay the Service within 28 days after his bid is accepted by
certified or cashier's check payable to the United States District Court. If the
buyer does not comply, his deposit is forfeited and will be used to cover the
expenses of the sale, with residue applied to Trowbridge’s tax liabilities. The

 
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ro.

clerk will distribute the deposit, by a check to the United States Treasury. The
property will again be offered for sale under the terms of this order or sold to
the next highest bidder. The United States may bid as a credit against its
judgment without tender of cash.

J. The sale is confirmed unless someone objects within 35 days. After

confirmation, the Service will execute and deliver a deed conveying the property
to the buyer.

K. The sale is without right of redemption.
Until Trowbridge vacates the property, he must preserve it in its current condition and
insure it against fires and casualties. He must do nothing that reduces the value of the

property like vandalism or recording liens.

If Trowbridge interferes with the sale, vandalizes the property, or attempts to re-enter
it, he may be punished with fines, incarceration, or both.

By noon on June 6, 2014, Trowbridge must vacate the property. If he does not leave,
the United States Marshal will evict him. The marshal may use reasonable force to
enter the property and arrest people who interfere. Unremoved personal property is
forfeited, and the Service must dispose of it in a commercially reasonable manner.
Proceeds from the sale of his personal property must be applied to his tax liabilities.
By June 9, 2014, Trowbridge must give Smeltzer his new address.

After the sale is confirmed, the clerk will distribute the proceeds in this order:

A. First, to the costs or fees of the clerk and marshal.

B. Second, to the Service for the reasonable costs of the sale, which will be
examined by the court at confirmation.

Cc. Third, to ad valorem taxes due to Montgomery County.
D. Fourth, to the United States of America for unpaid tax debts.

All remaining proceeds are to be held by the clerk until this court orders otherwise.

 

 

 

 
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tz. The United States Marshal will serve Trowbridge with this order.
Signed on May 2.3, 2014, at Houston, Texas.
Lynn N. Hughes
United States District Judge

 

 

 

 

 
